                Case 8:21-bk-11106-SC                   Doc 1 Filed 04/30/21 Entered 04/30/21 09:44:32                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mt. Sierra College, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Winthrop Golubow Hollander, LLP
                                  1301 Dove Street Suite 500
                                  Newport Beach, CA 92660
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  c/o Winthrop Golubow Hollander, LLP
                                                                                                  401 N. Fairview Street, Suite D49 Santa Ana, CA
                                                                                                  92703
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Mt. Sierra College, Inc.                                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Mt. Sierra College, Inc.                                                                  Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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             /s/ Richard H. Golubow                   04/30/2021
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               Case 8:21-bk-11106-SC                                         Doc 1 Filed 04/30/21 Entered 04/30/21 09:44:32                                                                   Desc
                                                                             Main Document    Page 7 of 83
 Fill in this information to identify the case:

 Debtor name            Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           101,838.25

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           101,838.25


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           251,233.75


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              5,452.84

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,835,141.30


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,091,827.89




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
              Case 8:21-bk-11106-SC                            Doc 1 Filed 04/30/21 Entered 04/30/21 09:44:32                   Desc
                                                               Main Document    Page 8 of 83
 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                         debtor's interest

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Monrovia Technology - Deposit for Rent - School                                                                   $60,752.00




           7.2.     Double Pegasus - Deposit for Rent - Student Housing                                                                $2,800.00




           7.3.     Deposit for Credit Card - East West Bank Visa                                                                     $10,131.47




           7.4.     So Cal Edison - Utility                                                                                              $205.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     TCCG - Operating Leases                                                                                            $1,792.06



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor           Mt. Sierra College, Inc.                                                   Case number (If known)
                  Name




           8.2.     TCCG - Equipment Lease                                                                                    $830.32




           8.3.     TCCG - Navitas - Printers                                                                               $5,293.44




           8.4.     TCCG - Ascentium - Printers                                                                             $3,504.88




           8.5.     TCCG - Cambridge - Operating Leases                                                                     $6,879.60




           8.6.     Web - Equipment Loan                                                                                    $2,876.20




           8.7.     Nutanix Hardware - Equipment Lease                                                                      $2,800.00




           8.8.     TCCG - Cambridge - Capital Lease                                                                          $621.32




           8.9.     Creekridge Capital, LLC - Lease Furniture                                                               $3,351.96




 9.        Total of Part 2.                                                                                           $101,838.25
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 2
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              Case 8:21-bk-11106-SC                           Doc 1 Filed 04/30/21 Entered 04/30/21 09:44:32                       Desc
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 Debtor         Mt. Sierra College, Inc.                                                      Case number (If known)
                Name

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            12 Computers and 3 Servers                                                      $0.00                                               $0.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                   $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Mt. Sierra College, Inc.                                                     Case number (If known)
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 4
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 Debtor          Mt. Sierra College, Inc.                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $101,838.25

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $101,838.25           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $101,838.25




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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              Case 8:21-bk-11106-SC                           Doc 1 Filed 04/30/21 Entered 04/30/21 09:44:32                                         Desc
                                                              Main Document    Page 13 of 83
 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Apple Inc.                                     Describe debtor's property that is subject to a lien                   $45,717.00                      $0.00
       Creditor's Name                                All equipment leased or financed, all
       1111 Old Eagle School                          additions, attachments, accessories etc.
       Road
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      UCC - CA - 14-7426832805
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ascentium Capital LLC                          Describe debtor's property that is subject to a lien                     $9,856.00                     $0.00
       Creditor's Name                                Dell SonicWall, Dell Networking, Power Cord,
       23970 US Highway 59                            Stacking Cable etc.
       North
       Kingwood, TX 77339
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 15-7465154452
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 9
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Ascentium Capital LLC                          Describe debtor's property that is subject to a lien                      $4,299.94          $0.00
       Creditor's Name                                Microsoft SP3 256G etc.
       23970 US Highway 59
       North
       Kingwood, TX 77339
       Creditor's mailing address                     Describe the lien
                                                      CA UCC 15-7465154573
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Ascentium Capital LLC                          Describe debtor's property that is subject to a lien                     $19,365.00          $0.00
       Creditor's Name                                Ricoh Pro C5100s Color Pro
       23970 US Highway 59                            Printer/Copier/Scanner, Ricoh SP 4510DN
       North
       Kingwood, TX 77339
       Creditor's mailing address                     Describe the lien
                                                      CA UCC 15-7465752133
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Conestoga Equipment
 2.5                                                                                                                           $16,208.97          $0.00
       Finance Corp.                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                All replacements, parts, repairs,
                                                      improvements, additions - Server Nutanix
                                                      Hardware Platform, Enterprise Remote
       1033 S. Hanover Street                         Professinal EVT; Amendment
       Pottstown, PA 19465
       Creditor's mailing address                     Describe the lien
                                                      CA UCC 15-7489327561


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 9
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Conestoga Equipment
 2.6                                                                                                                           $8,141.40          $0.00
       Finance Corp.                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Rasilent, ASUS, Obiquity, LTS L TAC3010B,
                                                      Tripplite Smart, Avigilon etc.
       1033 S. Hanover Street
       Pottstown, PA 19465
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 16-7506035912
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporation Service
 2.7                                                                                                                              $0.00           $0.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                All debtors present and future accounts,
       As Representative                              chattel paper, deposit accounts, documents
       P.O. Box 2576                                  etc.
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 16-7528856765
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 9
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name



       Hewlett-Packard Financial
 2.8                                                                                                                                $0.00          $0.00
       Services                                       Describe debtor's property that is subject to a lien
       Creditor's Name                                All equipment and software leased or
                                                      financed - computer, printing, imaging etc.
       200 Connell Drive
       Berkeley Heights, NJ 07922
       Creditor's mailing address                     Describe the lien
                                                      CA UCC 15-7470682212
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   RLC Funding                                    Describe debtor's property that is subject to a lien                     $29,247.00          $0.00
       Creditor's Name                                Ricoh MP C6502SP; Ricoh Pro C5100s
       814 Highway A1A North,
       Suite 205
       Ponte Vedra Beach, FL
       32082
       Creditor's mailing address                     Describe the lien
                                                      CA UCC15-7465752012
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     RLC Funding a Division of                      Describe debtor's property that is subject to a lien                     $45,717.00          $0.00
       Creditor's Name                                PP-TFCOLORSTD,
       Navitas Lease Corp.,                           C5100S-C,C5100S-RIC-SET, 404493, 416612
       ISAOA                                          Punch Unit, OC-C5100S Imaging Option,
       814 Highway A1A North,                         007183MIU, 007138MIU etc.
       Suite 205
       Ponte Vedra Beach, FL
       32082
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 15-7474114589
                                                      Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 9
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     RLC Funding a Division of                      Describe debtor's property that is subject to a lien                      $3,778.80          $0.00
       Creditor's Name                                Custom Signs, Inc. - Monument Sign
       Navitas Lease Corp.,
       ISAOA
       814 Highway A1A North,
       Suite 205
       Ponte Vedra Beach, FL
       32082
       Creditor's mailing address                     Describe the lien
                                                      CA UCC 15-7492328546; CA UCC
                                                      15-7492224117
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Royal Bank America
 2     Leasing, LP                                    Describe debtor's property that is subject to a lien                     $31,080.73          $0.00
       Creditor's Name                                Dell Computers, Dell Ultrasharp 32 U.tra HD
       550 Township Line Road                         4K Monitor etc
       Suite 425
       Blue Bell, PA 19422
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 15-7479971797
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Univest Capital, Inc.                          Describe debtor's property that is subject to a lien                     $13,574.20          $0.00
       Creditor's Name                                (101) Training Tables, Desks etc.
       3331 Street Rd Suite 325
       Bensalem, PA 19020
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 15-7498322364
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Western Equipment
 4     Finance, Inc.                                  Describe debtor's property that is subject to a lien                     $18,736.47          $0.00
       Creditor's Name                                Equipment/Inventory - 1-Dell Sonicwall,
                                                      10-Dell Sonicpoint ACI, 1 Dell Switch Bundle,
                                                      3 APC Netshelter SX, 3 APC Netshelter 2 Post
       PO Box 640                                     Open Frame etc.
       Devils Lake, ND 58301
       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 15-7496322948
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Western Equipment
 5     Finance, Inc.                                  Describe debtor's property that is subject to a lien                      $5,511.24          $0.00
       Creditor's Name                                Equipment/Inventory - 1 Fire Alarm System, 1
                                                      Brivo Door Control Kit, 1 Brivo Door Chasis, 3
                                                      Brivo Door Boards, 2 Rewire Panic Bars, 1
       PO Box 640                                     Rewire, 1 Existing etc.
       Devils Lake, ND 58301

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 6 of 9
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien
                                                      CA UCC - 16-7508462665
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $251,233.75

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Ascentium
        PO BOx 301593                                                                                           Line   2.2
        Dallas, TX 75303

        Ascentium
        PO BOx 301593                                                                                           Line   2.3
        Dallas, TX 75303

        Ascentium
        PO BOx 301593                                                                                           Line   2.4
        Dallas, TX 75303

        Bryn Mawr Funding
        620 West Germantown Pike Suite 910                                                                      Line   2.12
        Plymouth Meeting, PA 19462

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.2
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.8
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.9
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.14
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                                               Line   2.3
        Springfield, IL 62703


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 7 of 9
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 Debtor       Mt. Sierra College, Inc.                                                  Case number (if known)
              Name

        Corporation Service Company
        801 Adlai Stevenson Drive                                                               Line   2.4
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                               Line   2.11         SPRFiling@cscinf
        Springfield, IL 62703                                                                                            o.com

        Corporation Service Company
        801 Adlai Stevenson Drive                                                               Line   2.15
        Springfield, IL 62703

        Corporation Service Company
        801 Adlai Stevenson Drive                                                               Line   2.7
        Springfield, IL 62703

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.12
        2727 Allen Parkway
        Houston, TX 77019

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.5
        2727 Allen Parkway
        Houston, TX 77019

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.13
        2727 Allen Parkway
        Houston, TX 77019

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.10
        2727 Allen Parkway
        Houston, TX 77019

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.11
        2727 Allen Parkway
        Houston, TX 77019

        CT Lien Solutions
        Attn: Gisella Melendez                                                                  Line   2.6
        2727 Allen Parkway
        Houston, TX 77019

        Lease Direct
        Attn: Tim Farina                                                                        Line   2.1
        PO Box 4000
        Johnston, IA 50131-9854

        RLC Funding
        201 Executive Center Drive Suite 10                                                     Line   2.9
        Columbia, SC 29210

        RLC Funding
        201 Executive Center Drive Suite 10                                                     Line   2.10
        Columbia, SC 29210

        RLC Funding
        201 Executive Center Drive Suite 10                                                     Line   2.11
        Columbia, SC 29210



Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property             page 8 of 9
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 Debtor       Mt. Sierra College, Inc.                                                  Case number (if known)
              Name

        RLC Funding a Div. of Navitas
        Lease Corp. ISAOA                                                                       Line   2.11
        111 Executive Center Drive
        Suite 102
        Columbia, SC 29210

        Univest Capital Inc.
        3220 Tillman Dr Suite 503                                                               Line   2.13
        Bensalem, PA 19020

        Western Equipment Finance
        503 Hwy 2 West                                                                          Line   2.14
        Devils Lake, ND 58301




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property          page 9 of 9
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 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim            Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $5,452.84     $5,452.84
           Los Angeles County Tax Collector                          Check all that apply.
           PO Box 54027                                                 Contingent
           Los Angeles, CA 90054-0110                                   Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $2,397.80
           Adam Smith                                                                  Contingent
           14520 Village Drive Apt 1204                                                Unliquidated
           Fontana, CA 92337                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Educational Services
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $1,534.24
           Aflac                                                                       Contingent
           1932 Wynnton Rd.                                                            Unliquidated
           Columbus, GA 31993                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Insurance
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 23
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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ajmal Abwi                                                            Contingent
          2202 Crawford Ave.                                                    Unliquidated
          Altadena, CA 91001                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,782.00
          Alaris                                                                Contingent
          1812 W. Burbank Blvd. #483                                            Unliquidated
          Burbank, CA 91506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alarm, Security Guard - Services Performed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Alec Chu-Su Gutierrez                                                 Contingent
          261 East Alegria                                                      Unliquidated
          Sierra Madre, CA 91024                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Alex B Maiwandi                                                       Contingent
          148 East Lemon Ave.                                                   Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Alyssa M Gonzalez                                                     Contingent
          560 S Fernwood Street Unit 5                                          Unliquidated
          West Covina, CA 91791                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ana L. Rendon Renteria                                                Contingent
          333 Orange Ave.                                                       Unliquidated
          West Covina, CA 91790                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Andrew Valle                                                          Contingent
          14022 Prichard St.                                                    Unliquidated
          La Puente, CA 91746                                                   Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Mt. Sierra College, Inc.                                                                Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Andrew Zepeda                                                         Contingent
          1307 W Baker Ave.                                                     Unliquidated
          Fullerton, CA 92833                                                   Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Antoni Salazar                                                        Contingent
          3739 La Madera Ave.                                                   Unliquidated
          El Monte, CA 91732                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Archangle A. Lenier                                                   Contingent
          134 N. Myrtle Ave.                                                    Unliquidated
          Unit B                                                                Disputed
          Monrovia, CA 91016
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred      6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $278.20
          Arlyne Sanchez                                                        Contingent
          2929 N White Ave                                                      Unliquidated
          La Verne, CA 91750                                                    Disputed
          Date(s) debt was incurred      12/30/2015                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Axa Lopez                                                             Contingent
          9056 Burma Rd.                                                        Unliquidated
          Pico Rivera, CA 90660                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Benjamin Howard                                                       Contingent
          1120 Monte Verde Dr.                                                  Unliquidated
          Arcadia, CA 91007                                                     Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $365.00
          Brian Wang                                                            Contingent
          5561 Sultana Ave Apt 4B                                               Unliquidated
          Temple City, CA 91780                                                 Disputed
          Date(s) debt was incurred 11/22/2017
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 23
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              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $695.00
          Briana L. Chairez                                                     Contingent
          711 S Glenn Alan                                                      Unliquidated
          West Covina, CA 91791                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,258.36
          Bryn Mawr Funding/RBA                                                 Contingent
                                                                                Unliquidated
          620 West Germantown Pike Suite 910                                    Disputed
          Plymouth Meeting, PA 19462
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $14,098.82
          Campus Management                                                     Contingent
          5201 Congress Ave Suite 220                                           Unliquidated
          Boca Raton, FL 33487
                                                                                Disputed
          Date(s) debt was incurred 5/15/19
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Carlos Castro                                                         Contingent
          9245 Mango Ave.                                                       Unliquidated
          Fontana, CA 92335                                                     Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,454.53
          Carlos Medrano                                                        Contingent
          14415 Moccasin St.                                                    Unliquidated
          La Puente, CA 91744                                                   Disputed
          Date(s) debt was incurred      3/28/2018                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,452.68
          Carol Rounds                                                          Contingent
          The Rounds Partnership                                                Unliquidated
          8815 Orton St.                                                        Disputed
          Elk Grove, CA 95624
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Cathy Rincon                                                          Contingent
          2016 Parkrose Ave.                                                    Unliquidated
          Duarte, CA 91010                                                      Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          CDW Government                                                        Contingent
          75 Remittance Drive Suite 1515                                        Unliquidated
          Chicago, IL 60675                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Cecylia Palacio                                                       Contingent
          3601 Van Wig Ave.                                                     Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $44.00
          Charles West                                                          Contingent
          625 S Almansor                                                        Unliquidated
          Alhambra, CA 91801                                                    Disputed
          Date(s) debt was incurred      9/17/2015                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Christine C. Knudtson                                                 Contingent
          14833 Magnolia Blvd.                                                  Unliquidated
          Unit 103                                                              Disputed
          Sherman Oaks, CA 91403
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred 6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Christopher Bravo                                                     Contingent
          925 N Summit Ave. Apt 1                                               Unliquidated
          Pasadena, CA 91103                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $33.00
          Christopher Cornejo                                                   Contingent
          481 Marc Place Unit G                                                 Unliquidated
          Azusa, CA 91702                                                       Disputed
          Date(s) debt was incurred 4/18/2018; 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Christopher Winter                                                    Contingent
          191 Glen Summer Road                                                  Unliquidated
          Pasadena, CA 91105                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Clara Garcia                                                          Contingent
          1532 E Verness St.                                                    Unliquidated
          West Covina, CA 91791                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $21,069.57
          Creekridge Capital LLC                                                Contingent
          7808 Creekridge Circle Suite 250                                      Unliquidated
          Edina, MN 55439                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $20,422.78
          D2L LTD
          Attn Emily Wilson, Asst Controller                                    Contingent
          210 West Pennsylvania Ave.                                            Unliquidated
          Suite 400A                                                            Disputed
          Towson, MD 21204
                                                                             Basis for the claim:    Services Performed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,135.00
          Daniel S. Banyai                                                      Contingent
          250 Cathedral Cove, Apt #53                                           Unliquidated
          Camarillo, CA 93012                                                   Disputed
          Date(s) debt was incurred 6/27/2019
                                                                             Basis for the claim:    Judgment Entered on 6/27/2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          David Enriquez                                                        Contingent
          607 E Olive Ave.                                                      Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,465.63
          Dell                                                                  Contingent
          One Dell Way                                                          Unliquidated
          Round Rock, TX 78682                                                  Disputed
          Date(s) debt was incurred 2/18/2019
                                                                             Basis for the claim:    Equipment Purchase
          Last 4 digits of account number 8899
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Derick X Vu                                                           Contingent
          116 East Beacon St.                                                   Unliquidated
          Alhambra, CA 91801                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Diana Castro                                                          Contingent
          9245 Mango Ave.                                                       Unliquidated
          Fontana, CA 92335                                                     Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Domanique Hernandez                                                   Contingent
          1114 East Shamwood Street                                             Unliquidated
          West Covina, CA 91790                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $474.00
          Dominique C. Zamora                                                   Contingent
          4648 Landi Ave.                                                       Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Dongxu Xu                                                             Contingent
          311 W Foothill Blvd.                                                  Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Donny C Tubbs                                                         Contingent
          273 E Edna Pl                                                         Unliquidated
          Covina, CA 91723                                                      Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Double Pegasus, LLC                                                   Contingent
          210 South Orange Grove Blvd.
                                                                                Unliquidated
          Glendale, CA 91202
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:    Lease For Student Housing
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $110.00
          Durmel De Leon                                                        Contingent
          844 Terrace #49                                                       Unliquidated
          Los Angeles, CA 90042                                                 Disputed
          Date(s) debt was incurred 11/30/2016
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $15,488.00
          EBSCO Industries                                                      Contingent
          5724 Hwy 280 East                                                     Unliquidated
          Birmingham, AL 35242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $98.33
          Eduardo Diaz                                                          Contingent
          5700 Hill Street                                                      Unliquidated
          La Puente, CA 91744                                                   Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Edwin Valverde                                                        Contingent
          14347 Valona Dr.                                                      Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Elizabeth Gonzalez                                                    Contingent
          5580 Moreno Street Space 11                                           Unliquidated
          Montclair, CA 91763                                                   Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $631.33
          Emelin Gutierrez                                                      Contingent
          4136 La Rica Ave Apt B                                                Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2017
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $69,882.00
          Employers Assurance Co.                                               Contingent
          7110 North Fresno Street, Suite 250                                   Unliquidated
          Fresno, CA 93720-2999                                                 Disputed
          Date(s) debt was incurred 11/01/2017 - 11/01/2018
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number 0902
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Eric Garcilazo                                                        Contingent
          235 W Grove St #C14                                                   Unliquidated
          Pomona, CA 91767                                                      Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Ernie Castillo                                                        Contingent
          818 N Easley Canyon Rd.                                               Unliquidated
          Glendora, CA 91740                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,147.79
          Exacta Media Inc.                                                     Contingent
          200 Spectruim Center Drive                                            Unliquidated
          #300                                                                  Disputed
          Valencia, CA 91355
                                                                             Basis for the claim:    Services Performed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Exodus Bautista                                                       Contingent
          2441 Merced Ave.                                                      Unliquidated
          South El Monte, CA 91733                                              Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Felipe D. Alvarez                                                     Contingent
          216 W Cypress Ave. Apt B                                              Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Fernanda Garcia Perez                                                 Contingent
          18657 E Arrow Hwy Unit A                                              Unliquidated
          Covina, CA 91722                                                      Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $17,578.00
          First Insurance Funding                                               Contingent
          450 Stokie Blvd. Suite 1000                                           Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $250.00
          Franchise Tax Board                                                   Contingent
          PO Box 942857                                                         Unliquidated
          Sacramento, CA 94257-0531                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Penalty for tax year 2020
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Francisco Garay                                                       Contingent
          12837 Ledford Street                                                  Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Hao Ma                                                                Contingent
          605 E. Colorado Blvd.                                                 Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $142.00
          He Xia                                                                Contingent
          360 W Las Flores Ave                                                  Unliquidated
          Arcadia, CA 91007                                                     Disputed
          Date(s) debt was incurred 7/14/2018
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,203,750.00
          Hengda USA                                                            Contingent
          800 Royal Oaks Drive, Suite 101                                       Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $724.36
          Henry Mills                                                           Contingent
          15902 Haliburton #164                                                 Unliquidated
          Hacienda Heights, CA 91745                                            Disputed
          Date(s) debt was incurred 8/24/2014
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,500.00
          Innovative Data Consulting                                            Contingent
          25350 Magic Mountain Pkwy                                             Unliquidated
          Suite 300                                                             Disputed
           CA 91355
                                                                             Basis for the claim:    Services Provided
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jacob A Crouch                                                        Contingent
          747 W Longden                                                         Unliquidated
          Arcadia, CA 91007                                                     Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          James Castillo                                                        Contingent
          115 N Rampart Blvd Apt A                                              Unliquidated
          Los Angeles, CA 90026                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jarred Corral                                                         Contingent
          3735 Yuba River Dr.                                                   Unliquidated
          Ontario, CA 91761                                                     Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $53.00
          Jason E. Weir                                                         Contingent
          1432 Bentley Court                                                    Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred 1/26/2018
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,000.00
          Jennifer Gruczelak                                                    Contingent
          1543 Oslo Ct.                                                         Unliquidated
          Livermore, CA 94550                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Performed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jessica M. Murillo                                                    Contingent
          860 W. Olive                                                          Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jing Liu                                                              Contingent
          605 E Colorado Blvd.                                                  Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,856.00
          Joel Palacios                                                         Contingent
          3200 Floral Meadow Drive                                              Unliquidated
          Bakersfield, CA 93308                                                 Disputed
          Date(s) debt was incurred 10/18/2017
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          John Tang                                                             Contingent
          605 Colorado Blvd.                                                    Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Jonathan Garcia Perez                                                 Contingent
          18657 E Arow Hwy                                                      Unliquidated
          Unit A                                                                Disputed
          Covina, CA 91722
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred 6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $125.30
          Jorge Arroyo                                                          Contingent
          600 Ferrero Ln                                                        Unliquidated
          La Puente, CA 91744                                                   Disputed
          Date(s) debt was incurred      10/18/2017                          Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,173.00
          Jose Merino                                                           Contingent
          1331 N. San Gabriel Ave.                                              Unliquidated
          Unit 12                                                               Disputed
          Azusa, CA 91702
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred 3/10/2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Joseph E. Ling                                                        Contingent
          1244 Sunflower Ave.                                                   Unliquidated
          Glendora, CA 91740                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Joshua Romero                                                         Contingent
          15040 Ashwood Lane                                                    Unliquidated
          Chino Hills, CA 91709                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $280.92
          Joshua T Cordle                                                       Contingent
          16124 Rosecrans Ave. Aot 3A                                           Unliquidated
          La Mirada, CA 90638                                                   Disputed
          Date(s) debt was incurred 1/13/2014
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $264.67
          Jostens                                                               Contingent
          21336 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred      June 2019                           Basis for the claim:    Goods rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $678.59
          Julian Hernandez                                                      Contingent
          406 W Duarte Rd Apt E                                                 Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred 8/23/2017
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Julian Roca                                                           Contingent
          3414 Alice Street                                                     Unliquidated
          Los Angeles, CA 90065                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Junya Zhu                                                             Contingent
          821 Sequoia Circle                                                    Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Justin Mercado                                                        Contingent
          3221 Vineland Ave.                                                    Unliquidated
          Apt 2                                                                 Disputed
          Baldwin Park, CA 91706
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred 6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Kai A Martinez                                                        Contingent
          11222 Cresson Street                                                  Unliquidated
          Norwalk, CA 90650                                                     Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Lauren M. Atkins                                                      Contingent
          818 Valley View Ave.                                                  Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Lingxu Jin                                                            Contingent
          600 E Meda Ave.                                                       Unliquidated
          Glendora, CA 91741                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $131.70
          Marvel Wallace                                                        Contingent
          3113 W Mauna Loa Ave                                                  Unliquidated
          Glendora, CA 91740                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Mauricio Garcia Perez                                                 Contingent
          18657 E Arroyo Hwy Unit A                                             Unliquidated
          Covina, CA 91722                                                      Disputed
          Date(s) debt was incurred 6/5/2014; 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $40.90
          Metro Express Lanes                                                   Contingent
          20101 Hamilton Avenue, Suite 100A                                     Unliquidated
          Torrance, CA 90502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unpaid auto tolls
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Miguel Ledesma                                                        Contingent
          2482 Calle Villada Circle                                             Unliquidated
          Duarte, CA 91010                                                      Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Milton Lara                                                           Contingent
          10419 Morning Ave.                                                    Unliquidated
          Downey, CA 90241                                                      Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $187.00
          Ming Peng                                                             Contingent
          2020 S 3rd St. Apt C                                                  Unliquidated
          Alhambra, CA 91803                                                    Disputed
          Date(s) debt was incurred      6/30/2017                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $70,526.58
          Monrovia Technology Campus LLC                                        Contingent
          Nic Fetter or Blaine P. Fetter                                        Unliquidated
          602 E Huntington Drive Suite D
                                                                                Disputed
          Cherry Valley, IL 61016
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease Agreement
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Myda Arroyo                                                           Contingent
          1060 E Foothill Blvd Unit 1                                           Unliquidated
          Glendora, CA 91741                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nicholas Durian                                                       Contingent
          821 W Michelle St.                                                    Unliquidated
          West Covina, CA 91790                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nick M Flores                                                         Contingent
          375 Flower Street                                                     Unliquidated
          Pasadena, CA 91104                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nicole Seymour                                                        Contingent
          102 N Robin Privado                                                   Unliquidated
          Ontario, CA 91764                                                     Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Noah Romero                                                           Contingent
          9636 Pradera Ave.                                                     Unliquidated
          Montclair, CA 91763                                                   Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Nolan L. Ramsey                                                       Contingent
          610 West Route 66                                                     Unliquidated
          Apt 4                                                                 Disputed
          Glendora, CA 91740
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred      6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,672.17
          Office1                                                               Contingent
          3930 W Ali Baba Ln                                                    Unliquidated
          Las Vegas, NV 89118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Performed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Pablo A Garza                                                         Contingent
          925 N Summit Ave Apt 1                                                Unliquidated
          Pasadena, CA 91103                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Paola Gutierrez                                                       Contingent
          590 E Olive Street                                                    Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $384.04
          Parks Coffee California                                               Contingent
          PO Box 110914                                                         Unliquidated
          Carrollton, TX 75011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Performed
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $690.00
          Peter Kuczmarski                                                      Contingent
          13951 Illinois St. #G                                                 Unliquidated
          Westminster, CA 92683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accountant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,672.95
          Philadelphia Insurance Co.                                            Contingent
          PO Box 70151                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Qinyang Qian                                                          Contingent
          125 W Olive Ave                                                       Unliquidated
          Apt 320                                                               Disputed
          Monrovia, CA 91016
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred      6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Randy Gudadi                                                          Contingent
          9020 Pentland St.                                                     Unliquidated
          Temple City, CA 91780                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rasheed K. Abboud                                                     Contingent
          1823 Orange Grove Rd.                                                 Unliquidated
          Duarte, CA 91010                                                      Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $367.88
          Reshaun Harris                                                        Contingent
          562 E Phillips #27                                                    Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Results Loan Management Services                                      Contingent
          Attn: Jennifer Gruczelak                                              Unliquidated
          7172 Regional Street                                                  Disputed
          Dublin, CA 94568
                                                                             Basis for the claim:    Services Performed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,315.95
          Ricardo Moto                                                          Contingent
          542 N. Sunset Ave.                                                    Unliquidated
          Azusa, CA 91702                                                       Disputed
          Date(s) debt was incurred      4/21/2017                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rocio Juarez                                                          Contingent
          4610 Center Street                                                    Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rogelio Mondoza                                                       Contingent
          4132 Harlan Ave.                                                      Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rose Xiong                                                            Contingent
          2050 Lindauer Drive                                                   Unliquidated
          La Habra, CA 90631-2563                                               Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rudaina Brown                                                         Contingent
          14425 Bountain Ave.                                                   Unliquidated
          Chino, CA 91710                                                       Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $165.92
          Rudolph Pierson                                                       Contingent
          808 E Ross Ave.                                                       Unliquidated
          Alhambra, CA 91801                                                    Disputed
          Date(s) debt was incurred      12/30/2015                          Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Rudy Tinajero                                                         Contingent
          206 S Louise Ave.                                                     Unliquidated
          Azusa, CA 91702                                                       Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Salvador Gaeta                                                        Contingent
          12429 Rush Street                                                     Unliquidated
          South El Monte, CA 91733                                              Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Scott A Lane                                                          Contingent
          812 Brent Ave.                                                        Unliquidated
          South Pasadena, CA 91030-2708                                         Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Shaojia Ma                                                            Contingent
          605 E Colorado Blvd                                                   Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,086.77
          Sharon Montenegro                                                     Contingent
          1840 S 6th Ave Apt #C                                                 Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred 6/19/2017
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $3,000.00
          Star International Culture                                            Contingent
          1031 E Las Tunas D #B                                                 Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred 3/31/2017; 6/27/2017
                                                                             Basis for the claim:    Services Provided
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Stephen A Ballesteros                                                 Contingent
          528 Almond Ave. Unit B                                                Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Steve Nguyen                                                          Contingent
          11911 Rio Hondo Parkway                                               Unliquidated
          El Monte, CA 91732                                                    Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Steven Scott                                                          Contingent
          4958 Sereno Dr.                                                       Unliquidated
          Temple City, CA 91780                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Sukhman Kauer                                                         Contingent
          918 Huntinton Drive Unit E                                            Unliquidated
          Duarte, CA 91010                                                      Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Sun Katie                                                             Contingent
          1949 Edenview Ln.                                                     Unliquidated
          West Covina, CA 91792                                                 Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Tanner Lovitt                                                         Contingent
          654 Oakhill Drive                                                     Unliquidated
          Glendora, CA 91741                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $45,717.00
          TCCG, LLC dba The Cambridge Capital                                   Contingent
          5877 Pine Ave, Suite 240                                              Unliquidated
          Chino Hills, CA 91709-6543                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $728.78
          TFC                                                                   Contingent
          2010 Crow Canyon Place Suite 300                                      Unliquidated
          San Ramon, CA 94583                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Collections
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          U.S. Department of Education                                          Contingent
          400 Maryland Avenue, SW                                               Unliquidated
          Washington, DC 20202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    For Notice Purposes Only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Valerie Ann B Garza                                                   Contingent
          925 N Summit Ave.                                                     Unliquidated
          Apt 1                                                                 Disputed
          Pasadena, CA 91103
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred      6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $113.80
          Victor Trejo                                                          Contingent
          8131 Cornwell Ave.                                                    Unliquidated
          Rancho Cucamonga, CA 91739                                            Disputed
          Date(s) debt was incurred 12/30/2015
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Virgil Bryant                                                         Contingent
          862 San Pablo Way                                                     Unliquidated
          Duarte, CA 91010                                                      Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $125.00
          Yan Xu                                                                Contingent
          2913 Maxson Rd.                                                       Unliquidated
          El Monte, CA 91732                                                    Disputed
          Date(s) debt was incurred      8/14/2017                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Yatzeni Sanchez                                                       Contingent
          5031 Wheeler Ave.                                                     Unliquidated
          La Verne, CA 91750                                                    Disputed
          Date(s) debt was incurred      6/23/2019                           Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Yee Siang Wong                                                        Contingent
          21145 Lycoming Street                                                 Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Yi Xiao                                                               Contingent
          1923 Huntington Drive                                                 Unliquidated
          Unit B                                                                Disputed
          Duarte, CA 91010
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred 6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,281,823.00
          Ying (Lucy) Li                                                        Contingent
          9 Cobalt Dr.                                                          Unliquidated
          Dana Point, CA 92629                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $0.00
          Yuhao Li                                                              Contingent
          Aztec Hotel                                                           Unliquidated
          311 W Foothill Blvd.                                                  Disputed
          Monrovia, CA 91016
                                                                             Basis for the claim:    Educational Services
          Date(s) debt was incurred      6/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $92.00
          Yun Sun                                                               Contingent
          5340 Peck Road                                                        Unliquidated
          El Monte, CA 91732                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Educational Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.143     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Yuxin Wang                                                           Contingent
           605 E Colorado Ave                                                   Unliquidated
           Unit C                                                               Disputed
           Monrovia, CA 91016
                                                                             Basis for the claim:    Educational Services
           Date(s) debt was incurred     6/23/2019
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.144     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $355.02
           Zachary Guzman                                                       Contingent
           1715 S Sixth St.                                                     Unliquidated
           Alhambra, CA 91803                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Educational Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zezhi Yuan                                                           Contingent
           605 E Colorado Blvd.                                                 Unliquidated
           Unit C                                                               Disputed
           Monrovia, CA 91016
                                                                             Basis for the claim:    Educational Services
           Date(s) debt was incurred     6/23/2019
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Zhiyuan Shi                                                          Contingent
           911 Santa Fe Ave                                                     Unliquidated
           San Gabriel, CA 91776                                                Disputed
           Date(s) debt was incurred 6/23/2019
                                                                             Basis for the claim:    Educational Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,440.00
           Zhongzheng Li                                                        Contingent
           6147 N Muscatel                                                      Unliquidated
           San Gabriel, CA 91775                                                Disputed
           Date(s) debt was incurred 10/11/2016
                                                                             Basis for the claim:    Services Performed
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $810.94
           Zimmerman Advertising LLC                                            Contingent
           15471 SW 12th Street Suite 203                                       Unliquidated
           Sunrise, FL 33326                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services Performed
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1       Joni M. Fraser, Esq.
           Lam Lyn Philip PC                                                                     Line     3.36
           The Skyline Building
                                                                                                        Not listed. Explain
           6213 Skyline Drive Suite 2100
           Houston, TX 77057

 4.2       McCarthy, Burgess & Wolff
           The MB&W Building                                                                     Line     3.50
           26000 Cannon Road
                                                                                                        Not listed. Explain
           Cleveland, OH 44146

 4.3       Patrick W. Kelly, Esq.
           Snell & Wilmer                                                                        Line     3.94
           350 South Grand Avenue, Suite 3100
                                                                                                        Not listed. Explain
           Los Angeles, CA 90071


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                      5,452.84
 5b. Total claims from Part 2                                                                       5b.    +     $                  2,835,141.30

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    2,840,594.14




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 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Jie Zhao                          101 E. Huntington Drive                           Monrovia Technology                D
                                               Monrovia, CA 91016                                Campus LLC                         E/F       3.94
                                               Lease Guaranty
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Mt. Sierra College, Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For year before that:                                                                       Operating a business                             $1,088,841.49
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                             $2,341,332.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                             $3,328,347.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Condominium Management                                    Subaru 2017 Subaru Outback, license                           June 25 or 26,                Unknown
       Services, Inc.                                            number 7WFR729, VIN                                           2020
       675 W. Foothill Blvd                                      4S4BSANC2H3211167
       Claremont, CA 91711


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Mt. Sierra College                                School closing             Bureau for Private                           Pending
                                                                 audit                      Postsecondary                                On appeal
                                                                                            Postsecondary Education
                                                                                                                                         Concluded
                                                                                            1747 N. Market Blvd., Suite
                                                                                            225
                                                                                            Sacramento, CA 95834

       7.2.    Mt. Sierra College                                School closing             U.S. Department of                           Pending
                                                                 audit                      Education                                    On appeal
                                                                                            Federal Student
                                                                                                                                         Concluded
                                                                                            Aid/Program Compliance
                                                                                            San Francisco/Seattle
                                                                                            School Part Div.
                                                                                            50 United Nations Plaza,
                                                                                            Mailbox 1200
                                                                                            San Francisco, CA 94102


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
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           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates         Total amount or
                 the transfer?                                                                                                                        value
                 Address
       11.1.                                                                                                                   08/24/20
                                                                                                                               $9,928.30
                                                                                                                               09/16/20
                                                                                                                               $5,478.00
                                                                                                                               10/15/20
                                                                                                                               $405.70
                                                                                                                               11/13/20
                                                                                                                               $337.50
                                                                                                                               01/15/21
                                                                                                                               $2,902.50
                 Winthrop Golubow Hollander,                                                                                   02/12/21
                 LLP                                                                                                           $137.00
                 1301 Dove Street, Suite 500                                                                                   04/28/2021
                 Newport Beach, CA 92660                                                                                       $5,476.23         $24,665.23

                 Email or website address
                 www.wghlawyers.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


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 Debtor        Mt. Sierra College, Inc.                                                                  Case number (if known)




           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1 SEE ATTACHMENT
       .                                                                                                                                                      $0.00

                Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     101 Huntington Drive                                                                                      1999-2016
                 Monrovia, CA 91016

       14.2.     800 Royal Oaks Dr. Suite 101,                                                                             2016-2019
                 Monrovia, CA 91016

       14.3.     821 Sequoia Circle                                                                                        2019-2020
                 Monrovia, CA 91016

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




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                  Student address, social and charges and payment
                  Does the debtor have a privacy policy about that information?
                      No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    ADP                                                                                        EIN: 009994

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Iron Mountain                                                 Joyce Boylan, (Haiying)              Student Records                         No
                                                                     Liu                                                                          Yes


       Santa Ana Mini Storage California                             Winthrop Golubow                     12 Computers; 3 Servers                 No
       401 N. Fairview Street, Suite D49                             Hollander, LLP - 1301                                                        Yes
       Santa Ana, CA 92703                                           Dove Street, Suite 500,
                                                                     Newport Beach, CA
                                                                     92660


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 Debtor      Mt. Sierra College, Inc.                                                                   Case number (if known)



       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
                                                                                                          Certified academic student
       Certified Information Management                              Brian Sobwick                                                               No
       7880 Crossway Drive                                                                                transcript                             Yes
       Pico Rivera, CA 90660



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Violet Grundy                                                                                                              1997-2019
                    1986 Singingwood Ave.
                    Pomona, CA 91767
       26a.2.       Peter Kuczmarski                                                                                                           9/1/17-7/2019
                    13951 Illinois St. #G
                    Westminster, CA 92683

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Almich & Associates                                                                                                        2/2015-Present
                    26453 Rancho Parkway
                    Lake Forest, CA 92630
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Clifford Larsen Allen LLP                                                                                                  1/2018-11/2018
                    301 North Lake Ave Suite 900
                    Pasadena, CA 91101

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Almich & Associates
                    26453 Rancho Parkway
                    Lake Forest, CA 92630

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Xuheng Tang                                    9 Cobalt Dr                                         Level 4 Owner                         30%
                                                      Dana Point, CA 92629

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jianyou Li                                     LTD Room 1016 Building 3                            Level 4 Owner                         70%
                                                      West Road of North Third Ring
                                                      Bejing China


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Hengda USA Education Corp.                                                                                                     Loan Repayment
       .                                                         Loan $200,000.00                                        01/04/2019        to Hengda

               Relationship to debtor
               Owner


       30.2 Hengda USA Education Corp.                                                                                                     Loan Repayment
       .                                                         Loan $100,000.00                                        05/21/2019        to Hengda

               Relationship to debtor
               Owner


       30.3 Hengda USA Education Corp.                                                                                                     Loan Repayment
       .                                                         Loan $406,244.50                                        06/07/2019        to Hengda

               Relationship to debtor
               Owner


       30.4 Hengda USA Education Corp.                                                                                                     Loan Repayment
       .                                                         Loan $11,232.16                                         06/20/2019        to Hengda

               Relationship to debtor
               Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation


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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re       Mt. Sierra College, Inc.                                                                         Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 24,665.23 **
             Prior to the filing of this statement I have received                                        $                 24,665.23
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in prosecution or defense of any actions including motions for relief from stay or
               adversary proceedings.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.
      April 30, 2021                                                              /s/ Richard H. Golubow
     Date                                                                         Richard H. Golubow
                                                                                  Signature of Attorney
                                                                                  Winthrop Golubow Hollander, LLP
                                                                                  1301 Dove Street, Suite 500
                                                                                  Newport Beach, CA 92660
                                                                                  949-720-4100 Fax: 949-720-4111
                                                                                  rgolubow@wghlawyers.com
                                                                                  Name of law firm


**The firm was engaged to provide extensive pre-petition consultation and legal services related to the wind-down of the
debtor’s operations, interfacing with a substantial number of creditors including government regulatory agencies that oversee
academic institutions, and thereafter, the preparation and filing of a petition for chapter 7.




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                       Mt. Sierra College, Inc.
                       c/o Winthrop Golubow Hollander, LLP
                       1301 Dove Street Suite 500
                       Newport Beach, CA 92660


                       Richard H. Golubow
                       Winthrop Golubow Hollander, LLP
                       1301 Dove Street, Suite 500
                       Newport Beach, CA 92660


                       Adam Smith
                       14520 Village Drive Apt 1204
                       Fontana, CA 92337


                       Aflac
                       1932 Wynnton Rd.
                       Columbus, GA 31993


                       Ajmal Abwi
                       2202 Crawford Ave.
                       Altadena, CA 91001


                       Alaris
                       1812 W. Burbank Blvd. #483
                       Burbank, CA 91506


                       Alec Chu-Su Gutierrez
                       261 East Alegria
                       Sierra Madre, CA 91024


                       Alex B Maiwandi
                       148 East Lemon Ave.
                       Monrovia, CA 91016
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                   Alyssa M Gonzalez
                   560 S Fernwood Street Unit 5
                   West Covina, CA 91791


                   Ana L. Rendon Renteria
                   333 Orange Ave.
                   West Covina, CA 91790


                   Andrew Valle
                   14022 Prichard St.
                   La Puente, CA 91746


                   Andrew Zepeda
                   1307 W Baker Ave.
                   Fullerton, CA 92833


                   Antoni Salazar
                   3739 La Madera Ave.
                   El Monte, CA 91732


                   Apple Inc.
                   1111 Old Eagle School Road
                   Wayne, PA 19087


                   Archangle A. Lenier
                   134 N. Myrtle Ave.
                   Unit B
                   Monrovia, CA 91016


                   Arlyne Sanchez
                   2929 N White Ave
                   La Verne, CA 91750
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                   Ascentium
                   PO BOx 301593
                   Dallas, TX 75303


                   Ascentium Capital LLC
                   23970 US Highway 59 North
                   Kingwood, TX 77339


                   Axa Lopez
                   9056 Burma Rd.
                   Pico Rivera, CA 90660


                   Benjamin Howard
                   1120 Monte Verde Dr.
                   Arcadia, CA 91007


                   Brian Wang
                   5561 Sultana Ave Apt 4B
                   Temple City, CA 91780


                   Briana L. Chairez
                   711 S Glenn Alan
                   West Covina, CA 91791


                   Bryn Mawr Funding
                   620 West Germantown Pike Suite 910
                   Plymouth Meeting, PA 19462


                   Bryn Mawr Funding/RBA
                   620 West Germantown Pike Suite 910
                   Plymouth Meeting, PA 19462
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                   Campus Management
                   5201 Congress Ave Suite 220
                   Boca Raton, FL 33487


                   Carlos Castro
                   9245 Mango Ave.
                   Fontana, CA 92335


                   Carlos Medrano
                   14415 Moccasin St.
                   La Puente, CA 91744


                   Carol Rounds
                   The Rounds Partnership
                   8815 Orton St.
                   Elk Grove, CA 95624


                   Cathy Rincon
                   2016 Parkrose Ave.
                   Duarte, CA 91010


                   CDW Government
                   75 Remittance Drive Suite 1515
                   Chicago, IL 60675


                   Cecylia Palacio
                   3601 Van Wig Ave.
                   Baldwin Park, CA 91706


                   Charles West
                   625 S Almansor
                   Alhambra, CA 91801
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                   Christine C. Knudtson
                   14833 Magnolia Blvd.
                   Unit 103
                   Sherman Oaks, CA 91403


                   Christopher Bravo
                   925 N Summit Ave. Apt 1
                   Pasadena, CA 91103


                   Christopher Cornejo
                   481 Marc Place Unit G
                   Azusa, CA 91702


                   Christopher Winter
                   191 Glen Summer Road
                   Pasadena, CA 91105


                   Clara Garcia
                   1532 E Verness St.
                   West Covina, CA 91791


                   Conestoga Equipment Finance Corp.
                   1033 S. Hanover Street
                   Pottstown, PA 19465


                   Corporation Service Company
                   As Representative
                   P.O. Box 2576
                   Springfield, IL 62708


                   Corporation Service Company
                   801 Adlai Stevenson Drive
                   Springfield, IL 62703
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                   Creekridge Capital LLC
                   7808 Creekridge Circle Suite 250
                   Edina, MN 55439


                   CT Lien Solutions
                   Attn: Gisella Melendez
                   2727 Allen Parkway
                   Houston, TX 77019


                   D2L LTD
                   Attn Emily Wilson, Asst Controller
                   210 West Pennsylvania Ave.
                   Suite 400A
                   Towson, MD 21204


                   Daniel S. Banyai
                   250 Cathedral Cove, Apt #53
                   Camarillo, CA 93012


                   David Enriquez
                   607 E Olive Ave.
                   Monrovia, CA 91016


                   Dell
                   One Dell Way
                   Round Rock, TX 78682


                   Derick X Vu
                   116 East Beacon St.
                   Alhambra, CA 91801


                   Diana Castro
                   9245 Mango Ave.
                   Fontana, CA 92335
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                   Domanique Hernandez
                   1114 East Shamwood Street
                   West Covina, CA 91790


                   Dominique C. Zamora
                   4648 Landi Ave.
                   Baldwin Park, CA 91706


                   Dongxu Xu
                   311 W Foothill Blvd.
                   Monrovia, CA 91016


                   Donny C Tubbs
                   273 E Edna Pl
                   Covina, CA 91723


                   Double Pegasus, LLC
                   210 South Orange Grove Blvd.
                   Glendale, CA 91202


                   Durmel De Leon
                   844 Terrace #49
                   Los Angeles, CA 90042


                   EBSCO Industries
                   5724 Hwy 280 East
                   Birmingham, AL 35242


                   Eduardo Diaz
                   5700 Hill Street
                   La Puente, CA 91744
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                   Edwin Valverde
                   14347 Valona Dr.
                   Baldwin Park, CA 91706


                   Elizabeth Gonzalez
                   5580 Moreno Street Space 11
                   Montclair, CA 91763


                   Emelin Gutierrez
                   4136 La Rica Ave Apt B
                   Baldwin Park, CA 91706


                   Employers Assurance Co.
                   7110 North Fresno Street, Suite 250
                   Fresno, CA 93720-2999


                   Eric Garcilazo
                   235 W Grove St #C14
                   Pomona, CA 91767


                   Ernie Castillo
                   818 N Easley Canyon Rd.
                   Glendora, CA 91740


                   Exacta Media Inc.
                   200 Spectruim Center Drive
                   #300
                   Valencia, CA 91355


                   Exodus Bautista
                   2441 Merced Ave.
                   South El Monte, CA 91733
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                   Felipe D. Alvarez
                   216 W Cypress Ave. Apt B
                   Monrovia, CA 91016


                   Fernanda Garcia Perez
                   18657 E Arrow Hwy Unit A
                   Covina, CA 91722


                   First Insurance Funding
                   450 Stokie Blvd. Suite 1000
                   Northbrook, IL 60062


                   Franchise Tax Board
                   PO Box 942857
                   Sacramento, CA 94257-0531


                   Francisco Garay
                   12837 Ledford Street
                   Baldwin Park, CA 91706


                   Hao Ma
                   605 E. Colorado Blvd.
                   Monrovia, CA 91016


                   He Xia
                   360 W Las Flores Ave
                   Arcadia, CA 91007


                   Hengda USA
                   800 Royal Oaks Drive, Suite 101
                   Northbrook, IL 60062
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                   Henry Mills
                   15902 Haliburton #164
                   Hacienda Heights, CA 91745


                   Hewlett-Packard Financial Services
                   200 Connell Drive
                   Berkeley Heights, NJ 07922


                   Innovative Data Consulting
                   25350 Magic Mountain Pkwy
                   Suite 300
                   CA 91355


                   Internal Revenue Service
                   1973 North Rulon White Blvd.
                   Ogden, UT 84201-0062


                   Internal Revenue Service
                   9350 Flair Drive, 4th Floor
                   El Monte, CA 91731


                   Jacob A Crouch
                   747 W Longden
                   Arcadia, CA 91007


                   James Castillo
                   115 N Rampart Blvd Apt A
                   Los Angeles, CA 90026


                   Jarred Corral
                   3735 Yuba River Dr.
                   Ontario, CA 91761
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                   Jason E. Weir
                   1432 Bentley Court
                   San Dimas, CA 91773


                   Jennifer Gruczelak
                   1543 Oslo Ct.
                   Livermore, CA 94550


                   Jessica M. Murillo
                   860 W. Olive
                   Monrovia, CA 91016


                   Jie Zhao
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                   Monrovia, CA 91016


                   Jing Liu
                   605 E Colorado Blvd.
                   Monrovia, CA 91016


                   Joel Palacios
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                   Bakersfield, CA 93308


                   John Tang
                   605 Colorado Blvd.
                   Monrovia, CA 91016


                   Jonathan Garcia Perez
                   18657 E Arow Hwy
                   Unit A
                   Covina, CA 91722
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                   Unit 12
                   Azusa, CA 91702


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                   1244 Sunflower Ave.
                   Glendora, CA 91740


                   Joshua Romero
                   15040 Ashwood Lane
                   Chino Hills, CA 91709


                   Joshua T Cordle
                   16124 Rosecrans Ave. Aot 3A
                   La Mirada, CA 90638


                   Jostens
                   21336 Network Place
                   Chicago, IL 60673


                   Julian Hernandez
                   406 W Duarte Rd Apt E
                   Monrovia, CA 91016
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                   Julian Roca
                   3414 Alice Street
                   Los Angeles, CA 90065


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                   821 Sequoia Circle
                   Monrovia, CA 91016


                   Justin Mercado
                   3221 Vineland Ave.
                   Apt 2
                   Baldwin Park, CA 91706


                   Kai A Martinez
                   11222 Cresson Street
                   Norwalk, CA 90650


                   Lauren M. Atkins
                   818 Valley View Ave.
                   Monrovia, CA 91016


                   Lease Direct
                   Attn: Tim Farina
                   PO Box 4000
                   Johnston, IA 50131-9854


                   Lingxu Jin
                   600 E Meda Ave.
                   Glendora, CA 91741


                   Los Angeles County Tax Collector
                   PO Box 54027
                   Los Angeles, CA 90054-0110
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                   Covina, CA 91722


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                   2482 Calle Villada Circle
                   Duarte, CA 91010


                   Milton Lara
                   10419 Morning Ave.
                   Downey, CA 90241


                   Ming Peng
                   2020 S 3rd St. Apt C
                   Alhambra, CA 91803


                   Monrovia Technology Campus LLC
                   Nic Fetter or Blaine P. Fetter
                   602 E Huntington Drive Suite D
                   Cherry Valley, IL 61016
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                   1060 E Foothill Blvd Unit 1
                   Glendora, CA 91741


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                   821 W Michelle St.
                   West Covina, CA 91790


                   Nick M Flores
                   375 Flower Street
                   Pasadena, CA 91104


                   Nicole Seymour
                   102 N Robin Privado
                   Ontario, CA 91764


                   Noah Romero
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                   Montclair, CA 91763


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                   Las Vegas, NV 89118


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                   925 N Summit Ave Apt 1
                   Pasadena, CA 91103
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                   Westminster, CA 92683


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                   PO Box 70151
                   Philadelphia, PA 19176


                   Qinyang Qian
                   125 W Olive Ave
                   Apt 320
                   Monrovia, CA 91016


                   Randy Gudadi
                   9020 Pentland St.
                   Temple City, CA 91780


                   Rasheed K. Abboud
                   1823 Orange Grove Rd.
                   Duarte, CA 91010
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                   Reshaun Harris
                   562 E Phillips #27
                   Pomona, CA 91766


                   Results Loan Management Services
                   Attn: Jennifer Gruczelak
                   7172 Regional Street
                   Dublin, CA 94568


                   Ricardo Moto
                   542 N. Sunset Ave.
                   Azusa, CA 91702


                   RLC Funding
                   814 Highway A1A North, Suite 205
                   Ponte Vedra Beach, FL 32082


                   RLC Funding
                   201 Executive Center Drive Suite 10
                   Columbia, SC 29210


                   RLC Funding a Div. of Navitas
                   Lease Corp. ISAOA
                   111 Executive Center Drive
                   Suite 102
                   Columbia, SC 29210


                   RLC Funding a Division of
                   Navitas Lease Corp., ISAOA
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                   Ponte Vedra Beach, FL 32082


                   Rocio Juarez
                   4610 Center Street
                   Baldwin Park, CA 91706
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                   Rogelio Mondoza
                   4132 Harlan Ave.
                   Baldwin Park, CA 91706


                   Rose Xiong
                   2050 Lindauer Drive
                   La Habra, CA 90631-2563


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                   550 Township Line Road Suite 425
                   Blue Bell, PA 19422


                   Rudaina Brown
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                   Chino, CA 91710


                   Rudolph Pierson
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                   Alhambra, CA 91801


                   Rudy Tinajero
                   206 S Louise Ave.
                   Azusa, CA 91702


                   Salvador Gaeta
                   12429 Rush Street
                   South El Monte, CA 91733


                   Scott A Lane
                   812 Brent Ave.
                   South Pasadena, CA 91030-2708
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                   Shaojia Ma
                   605 E Colorado Blvd
                   Monrovia, CA 91016


                   Sharon Montenegro
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                   Monrovia, CA 91016


                   Star International Culture
                   1031 E Las Tunas D #B
                   Pomona, CA 91766


                   Stephen A Ballesteros
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                   Monrovia, CA 91016


                   Steve Nguyen
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                   El Monte, CA 91732


                   Steven Scott
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                   Duarte, CA 91010


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                   1949 Edenview Ln.
                   West Covina, CA 91792
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                   Tanner Lovitt
                   654 Oakhill Drive
                   Glendora, CA 91741


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                   5877 Pine Ave, Suite 240
                   Chino Hills, CA 91709-6543


                   TFC
                   2010 Crow Canyon Place Suite 300
                   San Ramon, CA 94583


                   U.S. Department of Education
                   400 Maryland Avenue, SW
                   Washington, DC 20202


                   Univest Capital Inc.
                   3220 Tillman Dr Suite 503
                   Bensalem, PA 19020


                   Univest Capital, Inc.
                   3331 Street Rd Suite 325
                   Bensalem, PA 19020


                   Valerie Ann B Garza
                   925 N Summit Ave.
                   Apt 1
                   Pasadena, CA 91103


                   Victor Trejo
                   8131 Cornwell Ave.
                   Rancho Cucamonga, CA 91739
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                   Virgil Bryant
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                   Devils Lake, ND 58301


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                   Devils Lake, ND 58301


                   Yan Xu
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                   El Monte, CA 91732


                   Yatzeni Sanchez
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                   La Verne, CA 91750


                   Yee Siang Wong
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                   Walnut, CA 91789


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                   Yuxin Wang
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                   Monrovia, CA 91016


                   Zachary Guzman
                   1715 S Sixth St.
                   Alhambra, CA 91803


                   Zezhi Yuan
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                   Unit C
                   Monrovia, CA 91016


                   Zhiyuan Shi
                   911 Santa Fe Ave
                   San Gabriel, CA 91776


                   Zhongzheng Li
                   6147 N Muscatel
                   San Gabriel, CA 91775


                   Zimmerman Advertising LLC
                   15471 SW 12th Street Suite 203
                   Sunrise, FL 33326
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
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Newport Beach, CA 92660
949-720-4100 Fax: 949-720-4111
California State Bar Number: State Bar #160434 CA
rgolubow@wghlawyers.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          Mt. Sierra College, Inc.                                            ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Richard H. Golubow                                                      , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
               I am a party to an adversary proceeding
               I am a party to a contested matter
               I am the attorney for the Debtor corporation
2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation’s(s’) equity interests:
                [For additional names, attach an addendum to this form.]
     b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.
     April 30, 2021                                                                       By:     /s/ Richard H. Golubow
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                          Name:         Richard H. Golubow
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
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                                              ATTACHMENT
                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
Part 6 - Question 13 - Transfers not already listed on this statement. List any transfers of money or other
property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the
ordinary course of business or financial affairs. Include both outright transfers and transfers made as
security. Do not include gifts or transfers previously listed on this statement.
On July 26, 2019, Monrovia Technology Campus, LLC (“Landlord”) initiated a Complaint in LA
Superior Court for (1) Breach of Lease Agreement; and (2) Breach of Guaranty (Case no.
19STCV26479). The Landlord initiated the action for breach of the lease agreement for the property
located at 800 Royal Oaks Drive, Suite 101, Monrovia, California 91016 (“Monrovia Property”). The
Monrovia Property was where the debtor, a now defunct for profit private college that ceased operations
on July 29, 2019, last operated from.
Over the course of years of operation, the debtor accumulated fixtures, furniture and equipment, owned or
leased by the debtor. On August 14, 2019, the landlord also served a Notice of Belief of Abandonment of
Real Property and Right to Reclaim Abandoned Personal Property (“Abandonment Notice”). At the time
of the Abandonment Notice the personal property at the Monrovia Property was either old, depreciated
and worthless, or was leased and not owned by the debtor.
Commencing on or about August 20, 2019, and for several weeks thereafter, the debtor’s various
equipment lessors made arrangements with the debtor and Landlord to retrieve all leased equipment. In
general, whatever equipment was not leased was considered worthless, and abandoned at the Monrovia
Property. In/about August and September 2019 the personal property lessors identified below removed
their leased personal property including the personal property identified below:
    1. Navitas
                 Ricoh: MP C6502SP multi-function color copier/printer/facsimile/scanner
                 Pro C5100s color production printer/copier/scanner
                 Monument Signage – To have been abandoned because of no resale value
    2. Univest
                 Furniture: (101) training tables & desks,
    3. Creekridge Capital
                 Modular furniture
    4. Bryn Mawr
                 (23) Dell UltraSharp 32 Ultra HD 4K Monitors with PremierColor Model UP3214Q and
                  (21) Dell Alienware Desktops with Alienware TactX Mouse and Keyboard
                 Telephone system
    5. Ascentium
                 Dell: (3) N2048 and (3) N3048 Networking Switches; and Dell SonicWALL Network
                  Security Appliance (NSA) 250M
                 (10) Microsoft SP3 256G i7 LT REPL BUN
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              (1) Ricoh MP C6502SP Multifunction Color Copier/Printer/Facsimile/Scanner and (9)
               Ricoh SP 4510DN Desktop B&W Printers
              Pursuant to email confirmation from Ronika Robinson on 9/12/19: “Per our conversation
               and as discussed with our asset manager Paul who is included in this email, it will cost us
               more to pick up the equipment than what it will be worth if we were to remarket,
               therefore we will not be retrieving.” RonikaRobinson@AscentiumCapital.com;
               PaulCrnkovic@AscentiumCapital.com
              The new point of contact is Trina LeMond as of July 2020.
               Bankruptcy Case Specialist
               Ascentium Capital LLC
               W: 281.348.2072 F: 866.846.3679
   6. Beneficial Equipment formerly Conestoga
              Nutanix Hardware Platform Server with (6) Intel Xeon Processors 2.4 GHZ Model
               2620V3; (24) 16GB DDR4 RAM; (3) 480GB Solid State Drives; (3) 10GBe Dual SFP+
               Network Cards; and (6) 2TB Hard Drives
              Post Alarm System and (3) 60" Round Banquet Tables
              109236001 Server: (1) Nutanix Hardware Platform - NX-1365-G4; (1) Enterprise
               Remote Professional-EVT; (3) 60" Round Banquet Tables 109236002; (1) Rasilent
               BS302SV8N HD NVR Work Station 8GB Ram 8TB; (1) ASUS VE22H 21.5" HD 1080P
               Flat Screen Video Monitor; (1) Obiquity ES-24-250W 24 Port POE Gigait Network
               Switch; (1) LTS LTAC3010B HDMI Cable w/Ethernet Gold Plated 10'; (2) Tripplite
               Smart 1500LCD 1500VA UPS with AVR Tower or Rack 2RU; (1) Avigilon 16C-ACC5-
               Cor 16 Channel Core Software License; (1) Avigilon 4C-ACC5-Cor 4 Channel Core
               Software License: (15) LTS CMIP3022W-28 2MP 1080P HD IR Turret WDR 2.8 Fixed
               Lens Cameras; (4) LTS CMIP3022W 2MP 1080P HD IP IR Turret WDR 4mm Fixed
               Lens Cameras; (1) Sony SNC-HM662 5MP Camera 360 Immervision Camera; (1) Speco
               02MT61B 1080P Mini IR Turret Camera 3.7mm Lens Black; (1) Avigilon 1C-ACC5-
               COR Single Channel Core License Key; (1) LTS CMIP3024W-28 4MP IP IR Turret
               Camera; (1) Avigilon 1C-ACC5-COR Single Channel License
   7. U.S. Bank / Western Equipment Financing
              Technology Equipment, including (1) Dell Sonicwall TZ600, (10) Dell Sonicpoint AC;
               (1) Dell Switch Bundle; (3) AP NetShelter; and (3) APC NetShelter.
A letter of credit in the amount of $178,602 was posted with New Omni Bank, N.A. (“Bank”) in favor of
the US Department of Education (“DOE”), as a condition to operating the school. In/or about November
2019, the DOE made a demand for payment on account of the letter of credit from the Bank. The Bank
complied with the request and wired $178,602 to the DOE. In or about February 2020, the Bank closed
all of the debtor’s bank accounts.
On April 21, 2021 a payment was made on behalf of the debtor to the DOE in the amount of $824.00 on
account of a close-out compliance audit.
